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COMPOSITE
EXHIBIT 7
(File Under Seal)

 

 
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Confidential

 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

— — — — — = - — — - — _ — — _ =_ = = = = x
VIRGINIA L. GIUFFRE,

Plaintiff,

Case No.:
-against- 15-cev-07433-RWS

GHISLAINE MAXWELL,

Defendant.
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** CONFIDENTIAL**

Continued Videotaped Deposition of
GHISLAINE MAXWELL, the Defendant herein,
taken pursuant to subpoena, was held at
the law offices of Boies, Schiller &
Flexner, LLP, 575 Lexington Avenue, New
York, New York, commencing July 22,
2016, 9:04 a.m., on the above date,
before Leslie Fagin, a Court Reporter
and Notary Public in the State of New
York,

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1200 Avenue of the Americas
New York, New York 10026
{866} 624-6221

 

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2 A. I think everyone here can

3 understand what intercourse is, is when you
4 have sex. I don't know how to say

5 intercourse any other way, having sex with

6 somebody. Perhaps you would like to define
7 it for me.

8 Q. I'm trying to get your definition
9 right now because you are the witness. When

10 you use the term intercourse, what are you
11 referring to?

12 A. I’m referring to a penis entering
13 someone's vagina.

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11 MR. PAGLIUCA: I'm going to

12 instruct you not to answer, unless you
13 tie it to a specific individual related
14 to this case per the court's order.

15 MR. BOITES: I think the court's

16 order specifically permits this question
17 with respect to occasions related to

18 this case. If you instruct her not to
19 answer, all you're going to do is bring
20 her back. That's up to you

21 MR. PAGLIUCA: It's up to you as

22 the questioner, Mr. Boies. P|
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3 I would not know. I would say no
4 Did you engage in sexual activities

6

7 QO. Do you know now TR ane Lo

8 know Mr. Epstein?

9 I met her at her university
11
a
13 In Palm Beach
14 Q. At Mr. Epstein's home in Palm
15 Beach?

16 A. Yes.
17 So is it fair to say that

18
. a
20 PAGLIUCA: This has already
21 been testified to Mr. Boies. We are
22 repeating testimony now.

23 MR. BOIES: I think in the context
24 of the witness' answers, these are fair
25 questions.

 

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2 Now, I've asked you before, if you
3 want to instruct her not to answer, if
4 you want to go to the judge, we are
5 happy to do that, but I would suggest,
6 in the interest of moving it along, that
7 you stop these speeches.
8 MR. PAGLIUCA: You are not moving
9 it along is the problem, so maybe we
10 should call the court and get some
11 direction here, because I am not going
12 to sit here and rehash the testimony we
13 already gave.
14 MR. BOIES: That's fine.
15 THE VIDEOGRAPHER: The time is
16 10:51 a.m. and we are going off the
17 record.
18 (Whereupon, an off-the-record
19 discussion was held.)
20 THE VIDEOGRAPHER: The time is
21 10:56 a.m. and we are going back on the
22 record. This begins DVD No. 3.
23 MR. BOIES: We have just had a call
24 with Judge Sweet's chambers, Judge Sweet
25 is not available and his chambers

 

 

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2 or argue this in front of Judge Sweet.

3 But I will simply start referring

4 you back to the transcript and

5 instructing the witness not to answer

6 when I think we are getting into some

7 things that have been asked and answered

8 already.

9 MR. BOIES: Exactly the procedure
10 that I have proposed from the beginning.
11 If you think a question is out of
12 bounds, instruct not to answer and we
13 will then let the judge decide it.

14 BY MR. BOTIES:

15 Q. How did it happen, Ms. Maxwell,
16

17 ended up giving massages to you

 

18 and Mr. Epstein?

19 MR. PAGLIUCA: I'm going to

20 instruct you not to answer the question.
21 This has been previously, the subject of
22 your former deposition, it doesn't fall

23 into any of the categories ordered by

24 the court, and so you don't need to

25 answer that.

 

 

 

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Q. was 2: for the massages

3 that she gave you?

A. I didn't pay her, so I believe she

5 was paid.

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Q. Who paid her?
A. I don't know who paid her.

MR. PAGLIUCA: Again, you've
already answered that there was no
sexual activity between yourself and
Mr. Epstein related to these massages.
That's record testimony today. That's
within the scope of the court's order.
The rest of this is outside the scope of
the court's order, and I instruct you
not to answer.

MR. BOIES: You are taking the
position that as long as she said says
that a massage did not involve sexual
activity, we cannot ask about massages.
That's your view?

MR. PAGLIUCA: On this particular

questioning, yes.

24 BY MR. BOIES:

25

 

Q. Did Mr. Epstein pay the

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2 massages that she gave Mr. Epstein?

3 MR. PAGLIUCA: You just asked this

4 question, and I told her not to answer.

5 I will tell her not to answer again for

6 the same reasons

7 Q. Do you know how much Mr. Epstein

8 paid Johanna to give massages?

9 MR, PAGLIUCA: Same instruction to
10 the witness. Why do you believe this is
11 within the scope of the court's order?
12 MR. BOIES: Because of the court's
13 reference to massages, and because I
14 think how much a ji Di
15 po was paid to give a
16 "Massage" goes to whether there actually
17 was or was not sexual activity involved.
18 MR. PAGLIUCA: The witness has
19 testified there wasn't.

20 MR. BOIES: Perhaps it will

21 surprise you, I think it should not,

22 that I do not believe in my deposition I
23 need to simply accept her

24 characterization without

25 cross-examination. Now, that's

 

 

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2 something the judge can decide, but a

3 question as to how much this young girl

4 was being paid for a "massage", I think

5 gees directly to the issue of sexual

6 activity.

7 MR. PAGLIUCA: Here is the problem,

8 Mr. Boies, at the first deposition,

9 there were very limited instructions not
10 to answer and the witness was not told
11 not to answer questions about how much
12 people were paid or not paid or any of
13 those subject matters. The witness was
14 only instructed not to answer about
15 sexual activity concerning adults in the
16 home.

17 None of this came up during the

18 deposition, and you just don't get a

19 chance to redo the deposition because

20 you feel like you want to.

21 So the judge's order is in the

22 context of the instructions to the

23 witness not to answer in the first

24 deposition, which is simply sexual

25 activity involving adults, which was the

 

 

 

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2 A. I don't recall ever hearing such a
3 thing.

4 Q. You ov correct?
5 A. I do.

6 Do you know whether or not

7

8

9 MR. PAGLIUCA: Can you tell me how
10 that relates to this order, counselor?
11 MR. BOIES: Yes, I think it goes
12 directly to the sexual activity related

13 to re -:: what Mr. Epstein was

15 Again, you can instruct not to
16 answer.

17 MR. PAGLIUCA: I'm trying to

18 understand why you are asking these
19 questions before I --

20 MR. BOIES: T'm asking these

21 questions because these are people who
22 not only have been publicly written
23 about in terms of the sexual activity
24 that they were put into in connection
25 with Mr. Epstein, but the person who

 

 

 

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2 wrote about them is somebody who talked
3 to this witness about it, and I think
4 that this is more than easily understood
5 cross-examination.,
6 MR. PAGLIUCA: Your question was,
7 do you know whether or 1 iii,
ae
——
10 MR. BOIES: Yes. And if you let
11 her answer, you will see where it leads.
12 If you won't let her answer, the judge
13 is going toe determine it. And I just
14 suggest to you that you stop these
15 speeches and stop debating, because you
16 are not going to convince me not to
17 follow-up on these questions. T£ you
18 can convince the court to truncate the
19 deposition, that's your right, but all
20 you're doing is dragging this deposition
21 out.
22 MR. PAGLIUCA: You have the
23 opportunity to give me a good faith
24 basis why you are asking these
25 questions.

 

 

 

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2 MR. BOILES: I have given you a good
3 faith basis.

4 MR. PAGLIUCA: You haven't.

5 MR. BOIES: Then instruct not to

6 answer.

7 MR. PAGLIUCA: T am giving you the
8 opportunity to say why you are asking

9 the question, and why I'm telling her

10 not to answer and I am entitled to know
11 that

12 MR. BOIES: You are not entitled to
13 know why I'm asking the question. You
14 are only entitled to know that it

15 relates to the subject matter that I am
16 entitled to inquire about, and I don't
17 think the judge is going to think that,
18 you know, where Mr. Epstein shipped

19 ae .:: to is outside the scope
20 of what I'm entitled to inquire about.
21 THE WITNESS: Can we take a break?
22 MR. BOIES: Only if you commit not
23 to talk to your counsel during the

24 break.

25 THE WITNESS: That's ludicrous.

 

 

 

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2 Q. Insofar as you were aware, did
3 Virginia Roberts ever have a male friend that
4 visited her at the Epstein residences?
5 A. I don't recall ever seeing a man
6 with Virginia. I believe she had a fiance
7 that I was aware of, I think, but that's all.
8 Q. When were you aware that Virginia
9 Roberts had a fiance?
10 A. I can't say I became aware from
11 reading all this stuff, or I was aware of it
12 at the time. I don't know.
13 Q. Did you ever meet Virginia Roberts'
14 fiance?
15 A. I don't think I ever did. I don't
16 recall meeting any men with Virginia.
17 QO. Do you know [ii
ll
19 A. I never heard that name before.
20 QO. Have you ever heard the name of
2 ee
22 A. I don't recollect that name at all.
23 MR. PAGLIUCA: Mr. Boies, those
24 names are on Exhibit 26, which we have
25 already gone over and she said she

 

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2 didn't recognize those people, so now we
3 are just repeating things that we went
4 over.
5 MR. BOIES: I am in the context of
6 seeing if I can refresh her
7 recollection, because these are women
8 that who she also does not
9 recall, brought over to Mr. Epstein's
10 residences, and I also want to make a
11 very clear record of what her testimony
12 is and is not right now.
13 Again, you can instruct her not to
14 answer if you wish.
15 MR. PAGLIUCA: I'm trying to get to
16 nonrepetitive questions here. You
17 basically asked the same question three
18 times. Then we get a pile of notes that
19 get pushed up to you, you read those.
20 Then you ask those three times, and then
21 we go to another question. So it's
22 taking an inordinately long amount of
23 time and it shouldn't.
24 MR. BOIES: I think that is a
25 demonstrably inaccurate statement of

 

 

 

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2 what has been going on, and I

3 attribute -- maybe I shouldn't attribute
4 it at all.

5 But if you want to instruct not to
6 answer, instruct not to answer. If you
7 don't, again, all I will do is request
8 that you cease your comments. I can't
9 do that. All I can do is seek sanctions
10 afterwards.

11 BY MR. BOTES:

12 Q. Ms. Maxwell.

13 A. Mr. Boies.

14 QO. What?

15 A. I'm replying. You said Ms.

16 Maxwell, I said Mr. Boies.

17 QO. Do you have a question?

18 A. No.

19 QO. I have a question.

20 A. I'm sure you do.

21 Q. During the time that you were in
22 the property or at the property that

23 Mr. Epstein has in the Virgin Islands, were
24 you aware of Mr. Epstein getting any

25 massages?

 

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2 court's order.
3 Q. In terms of preparing for this

4 deposition, what documents did you review?

5 MR. PAGLIUCA: To the extent I

6 provided you with any documents to

7 review, I will tell you that's both --
8 it's privileged and I instruct you not
9 to answer.

10 Q. Did your lawyer provide you with

11 any documents to review in preparation for
12 this deposition that refreshed your

13 recollection about any of the events that

14 occurred?

15 MR. PAGLIUCA: You can answer that
16 question.

17 A. No.

18 Q. How many documents did your lawyer

19 provide you with?

20 MR. PAGLIUCA: You can answer,
21 A. One, I believe.
22 Q. One document. Was that a document

23 that had been prepared by your attorney, or
24 was it a document from the past?

25 MR. PAGLIUCA: I will tell you not

 

 

 

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MR, PAGLIUCA: Don't answer that

question. It's outside the court's
order.
Q. In 2005, were you aware of any

effort to destroy records of messages you had
taken of women who had called Mr. Epstein in

the prior period?

MR. PAGLIUCA: Don't answer that
question. It's outside the court's
order.

MR. BOIES: I said I would give you
a break every hour. It's been an hour.

MR. PAGLIUCA: Do you want a break
or do you want to keep going?

THE WITNESS: Keep going.

MR. BOIES: What I told you before,
you asked for a break every hour. I am
happy to give you a break at a fixed
time. What I'm not happy to do is
interrupt a chain of examination.

So if you want a break now, we will
take a break now. If you don't want a
break now, we will not break for another

hour.

 

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2 Q. Next one is --
3 A. | EE Virginia's guy that you

 

4 asked me about. I don't know

5 Q. I asked you about a pe
6 A. Right, I don't know him, so I'm

7 guessing, I don't know him.

Q. —

9 A.

11 A.

13 A. I don't know who these people are.
14 QO. Was there a list that was kept of

15 women or girls who provided massages?

16 MR. PAGLIUCA: This has been

17 previously deposed on. This is not part
18 of the court's order, I will tell her

19 not to answer.

20 MR. BOIES: You are going to tell
21 her not to answer a question that says
22 was there a list of women or girls who
23 provided massages?

24 MR. PAGLIUCA: She has been

25 previously deposed on this subject.

 

 

 

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2 MR. BOIES: I think this is

3 squarely in the court's order, but if

4 you instruct her not to answer, you

5 instruct her not to answer.

6 MR. PAGLIUCA: We'll find out.

7 BY MR. BOIES:

8 Q. I take it you don't know the ages
9 of any of these people?

10 A. The ones that I did recognize were
11 roughly my age. The ones I don't know, I

12 wouldn't have a clue.

13 QO. Did you, or insofar as you are

14 aware anyone, maintain a list of females that
15 provided massage services to Mr. Epstein at
16 his residences?

17 MR. PAGLIUCA: Objection to form
18 and foundation.

19 You can answer if you can.

20 A. I don't know anything about a list.
21 QO. Let me go back to Bxhibit 28. I
22 want to go down this list, excluding

23 Mr. Epstein himself, and just ask you a

24 series of the same essential questions about
25 each one.

 

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1
2 CERTIFICATE
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5 I HEREBY CERTIFY that GHISLAINE
6 MAXWELL, was duly sworn by me and that the
7 deposition is a true record of the testimony
8 given by the witness.
9

. they en
11 Les¥ie ratfin,

Registered Professional Reporter

H
oS

 

12 Dated: July 22, 2016

13

14

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19 of the certifying reporter.)

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